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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                        Plaintiff,

        v.                                         CRIMINAL NO. 1:17CR32-16
                                                        (Judge Keeley)

  FLOYD PANCOAST,

                        Defendant.

     ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
       CONCERNING PLEA OF GUILTY IN FELONY CASE (DKT. NO. 637),
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        On       October    11,     2017,    the    defendant,          Floyd   Pancoast

  (“Pancoast”),         appeared    before    United     States    Magistrate       Judge

  Michael J. Aloi and moved for permission to enter a plea of GUILTY

  to Count Fifty-Five of the Indictment. After Pancoast stated that

  he understood that the magistrate judge is not a United States

  district judge, he consented to tendering his plea before the

  magistrate judge. Previously, this Court had referred the guilty

  plea to the magistrate judge for the purposes of administering the

  allocution pursuant to Federal Rule of Criminal Procedure 11,

  making     a    finding   as     to   whether    the   plea     was    knowingly    and

  voluntarily entered, and recommending to this Court whether the

  plea should be accepted.

        Based upon Pancoast’s statements during the plea hearing and

  the government’s proffer establishing that an independent factual

  basis for       the    plea    existed,    the magistrate        judge    found    that
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  Pancoast was competent to enter a plea, that the plea was freely

  and voluntarily given, that he was aware of the nature of the

  charges against him and the consequences of his plea, and that a

  factual basis existed for the tendered plea. On October 12, 2017,

  the magistrate judge entered a Report and Recommendation Concerning

  Plea of Guilty in Felony Case (“R&R”) (dkt. no. 637) finding a

  factual basis for the plea and recommending that this Court accept

  Pancoast’s plea of guilty to Count Fifty-Five of the Indictment.

        The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. He further advised that failure to file

  objections would result in a waiver of the right to appeal from a

  judgment of this Court based on the R&R. The parties did not file

  any objections to the R&R.

        Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Pancoast’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Fifty-Five of the Indictment.

        Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.

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        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

        Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

        1.    The   Probation   Officer     shall   undertake     a presentence

  investigation of Pancoast, and prepare a presentence report for the

  Court;

        2.    The Government and Pancoast shall provide their versions

  of the offense to the probation officer by November 2, 2017;

        3.    The presentence report shall be disclosed to Pancoast,

  defense counsel, and the United States on or before January 3,

  2018;    however,   the   Probation   Officer     shall   not   disclose   any

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

        4.    Counsel may file written objections to the presentence

  report on or before January 17, 2018;

        5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before January 31, 2018;

  and

        6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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        ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

  factual basis from the statements or motions, on or before February

  7, 2018.

        The magistrate judge returned Pancoast to bond on the terms

  contained in the Order Setting Conditions of Release (dkt. No. 27)

  and the Agreed Order Releasing Defendant (dkt. no. 623).

        The   Court   will   conduct    the   sentencing   hearing   for   the

  defendant on Friday, February 23, 2018 at 10:30 A.M. at the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record and all appropriate agencies.

  DATED: October 26, 2017


                                       /s/ Irene M. Keeley
                                       IRENE M. KEELEY
                                       UNITED STATES DISTRICT JUDGE




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